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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON


IN RE: ETHICON, INC., PELVIC
REPAIR SYSTEM PRODUCTS                                   Master File No. 2:12-MD-02327
LIABILITY LITIGATION                                               MDL 2327


THIS DOCUMENT RELATES TO:                                   JOSEPH R. GOODWIN
                                                            U.S. DISTRICT JUDGE
Vanessa Dates v. Ethicon, Inc., et al.
Case No. 2:15-cv-11333



           DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT

       Defendants Ethicon, Inc. and Johnson & Johnson (collectively “Ethicon”), pursuant to

Federal Rule of Civil Procedure 56, move for partial summary judgment on Plaintiff’s claims. As

set forth more fully in Ethicon’s supporting memorandum, there are no genuine issues of

material fact, and Ethicon is entitled to summary judgment on certain claims asserted by Plaintiff

because such claims: (1) are abrogated under the Ohio Product Liability Act; (2) are not

recognized as independent causes of action under Ohio law; (3) are duplicative of Plaintiff’s

failure to warn claim; and/or (4) fail as a matter of law because Plaintiff cannot establish the

requisite elements of such claims.

       In support of this motion, Ethicon incorporates its Memorandum in Support of

Defendants’ Motion for Partial Summary Judgment, as well as the following exhibits:

       EXHIBIT        DESCRIPTION

       A              Excerpts from Plaintiff Fact Sheet (“PFS”) (redacted); and

       B              Case-Specific Report of Kevin Jovanovic, M.D. (June 11, 2018).
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       FOR THESE REASONS, and as more fully set forth in Ethicon’s supporting

memorandum of law, Ethicon respectfully requests that this Court enter an order granting

Ethicon’s Motion for Partial Summary Judgment and dismissing Plaintiff’s claims as set

forth therein, with prejudice.

                                        Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

       I certify that on this day, I electronically filed this document with the clerk of the court

using the CM/ECF system, which will send notification of this filing to CM/ECF participants

registered to receive service in this MDL.



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